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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND


RICHARD CHARLES, a.k.a. Jeanky Georges *
              Petitioner,
          v.                           *                 CIVIL ACTION NO. WMN-05-2546

STEVEN R. WILLIAMS                                  *
                                Respondent.
                                                   ***

                                         MEMORANDUM

        Petitioner Richard Charles is an inadmissible alien from Haiti who is presently confined at

the Dorchester County Detention Center in Cambridge, Maryland. On September 12, 2005, the

Clerk received for filing his 28 U.S.C. § 2241 petition for writ of habeas corpus relief, seeking

release from Department of Homeland Security (“DHS”), Immigration and Customs Enforcement

(“ICE”) custody. On October 26, 2005, Respondent filed a court-ordered response.1 Paper No. 4.

Petitioner filed a rebuttal thereto. Paper No. 5. The Petition is ready for the court’s consideration.

Oral hearing is unnecessary. See Local Rule 105.6. (D. Md. 2004). For reasons to follow, the

Petition shall be dismissed without prejudice.

                                           Procedural History

        Petitioner is a native and citizen of Haiti who entered the United States at Miami, Florida in

1989 as a stowaway. On November 22, 1995, he was served with notice charging him as being

deportable from the United States as an alien who was excludable at the time of entry. Paper No.

4, Ex. A. According to Respondent, Petitioner was released from custody in June, 1996, pending

his deportation proceeding. Petitioner and counsel appeared before the Immigration Court on March

19, 1997, and his hearing was rescheduled for June, 25, 1997. On June 25, 1997, however,



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         Petitioner was directed to file the $5.00 habeas fee or an indigency motion. He filed a motion for
leave to proceed in forma pauperis which, upon due consideration, shall be granted.
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Petitioner failed to appear for his immigration hearing and was ordered deported in absentia by

Immigration Judge Bruce M. Barrett. Paper No. 4, Ex. A.

       Petitioner was not taken back into ICE custody until February 8, 2005. Respondent states

that in May of 2005, a number of Haitian citizens were scheduled to be returned to Haiti on a Justice

Prisoner Alien Transportation System (“JPATS”) flight. He alleges, however, that because the

flight was already full, it was not possible to effect Petitioner’s deportation at that time. Id., Ex. B

at Stokes Decl.

       On July 13, 2005, Petitioner filed a counseled motion to re-open his in absentia deportation

order. Id. The motion was denied on August 12, 2005, and an appeal of that decision remains

pending before the Board of Immigration Appeals (“BIA”). Id.

       Petitioner had been scheduled to be interviewed by a Haitian Consular Officer on July 25,

2005, in preparation for his repatriation Id. That interview was canceled by the Haitian Consulate

and has not yet been rescheduled. Id.        ICE Headquarters Detention and Removal Operations

indicates that the Haitian Consulate in Washington, D.C. has temporarily suspended interviews until

after the upcoming December, 2005 political elections in Haiti. Id. ICE officers are to file a request

for travel documents directly with the Haitian Consulate. Id. On October 12, 2005, Petitioner’s ICE

Deportation Officer sent a complete travel document request package to the Haitian Consulate in

Washington, D.C. Id. The status of that request has not been determined. Id. Another travel

document request package was forwarded to the ICE Miami, Florida field office for submission to

the Haitian Consulate in Miami, it appearing that that office has had recent success in obtaining

Haitian travel documents.

       Petitioner’s Deportation Officer, Maria Stokes, indicates that ICE has been successful in

repatriating Haitian citizens to that country. Paper No. 4, Ex. B at Stokes Decl. In 2003, ICE


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returned 1,021 aliens to Haiti; in 2004, ICE returned 766 aliens to Haiti; and thus far in fiscal year

2005, ICE has returned 987 aliens to Haiti. Id.

                                                Analysis

        In Zadvydas v. Davis, 533 U.S. 678 (2001), the Supreme Court held that Immigration and

Naturalization Act, § 241(a)(6), 8 U.S.C. § 1231(a)(6), read in light of the due process protections

to be afforded to aliens who have been admitted into the United States, generally permits the

detention of such an alien under a final order of removal only for a period reasonably necessary to

bring about that alien’s removal from the United States. See Zadvydas, 533 U.S. at 701. It was

concluded that the detention of such an alien beyond the statutory removal period, for up to six

months after the removal order becomes final, is “presumptively reasonable.” Id. After six months,

if an alien can provide “good reason to believe that there is no significant likelihood of removal in

the reasonably foreseeable future,” the government must rebut the alien’s showing in order to

continue the alien in detention.2 Id. The 6-month rule announced in Zadvydas does not require the

automatic release of detainees subject to deportation. Clearly, there must be evidence, such as the

lack of a repatriation agreement with the detainee's native country, that removal is unlikely before

a detainee’s post-removal-order confinement is called into question. See, e.g., Thai v. Ashcroft, 366

F.3d 790, 792, 798 (9th Cir. 2004).

        At present the court finds no substantive or procedural due process violation associated with

Petitioner's continued post-removal-order detention. Petitioner came back into ICE custody in

February of 2005. ICE was unable to repatriate him to Haiti on a JPATS flight in May, 2005, and

scheduled him for an interview with Haitian authorities in July of 2005.             That interview was

canceled by the Haitian Consulate, but has not as of yet been rescheduled by Haitian officials. In

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         The scope of Zadvydas has been broadened to afford the same due process protections to inadmissible
aliens such as Petitioner. See Clark v. Suarez-Martinez, 125 S.Ct. 716, 722-23 (2005).

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October of 2005, travel document packages were sent to the Haitian Consulate in Washington, D.C.

and to the ICE field office in Miami for submission to the Haitian Consulate in that city. The court

observes that ICE has been diligent in contacting the Haitian Consulate in attempting to obtain travel

documents. At present, the delay in obtaining the travel document is attributable to the Haitian

government’s decision to suspend interviews until after its December 2005 election. Respondent

indicates that there is no reason to believe that the repatriation of Haitians will not resume in the near

future and maintains that ICE has been able to repatriate Haitian citizens with regularity in the recent

past.3 While Petitioner’s rebuttal discusses the hardships he will experience if returned to Haiti, he

has not successfully refuted the Respondent’s claims to establish that there is no significant

likelihood of his removal to Haiti in the reasonably foreseeable future.

                                                Conclusion

        For the aforementioned reasons, the Petition shall be dismissed without prejudice. A

separate Order follows.



Date: 11/17/05                                                /s/
                                                  William M. Nickerson
                                                  Senior United States District Judge




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        Petitioner was placed in deportation proceedings in 1996. Therefore, his case is subject to provisions
which existed prior to the enactment of the Illegal Immigration Reform and Immigrant Responsibility Act.
The court observes that even if ICE possessed a travel document from the Haitian Consulate, Petitioner
cannot be deported because a statutory stay is in effect due to the filing of his motion to re-open and appeal
to the BIA from the 1997 decision to deport in absentia. See former Immigration and Naturalization Act,
§ 242(B)(c)(3).

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